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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:12cr104-MHT
PAUL HULSE, SR.                    )          (WO)

                        OPINION AND ORDER

    Defendant      Paul      Hulse,      Sr.    is     charged      with

fraudulently inducing a bank to make a large loan by

falsely representing himself as a wealthy individual with

significant assets that could be pledged as collateral,

in violation of 18 U.S.C. §§ 1343 (wire fraud), 1344

(financial institution fraud), and 1349 (conspiracy).

This cause is now before the court on the question of

whether Hulse has the mental capacity to stand trial,

that is, whether he is currently suffering from a mental

disease or defect rendering him mentally incompetent to

the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist

properly in his defense.               See 18 U.S.C. § 4241(a).

During an on-the-record conference yesterday, the parties
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agreed to submit the matter to the court for resolution

based     on   the    evidence    in     the   record,     without      an

additional evidentiary hearing.

    Hulse received a psychiatric evaluation on November

23, 2012, at his residence in Kingwood, Texas, by Dr.

Steven Rosenblatt, M.D., a licensed psychiatrist.                 See 18

U.S.C. § 4241(b).       Dr. Rosenblatt’s December 10 report on

Hulse’s    competency     to     stand   trial,    after    the   first

psychiatric evaluation and review of medical records, was

inconclusive.        It stated in relevant part:

           “Hulse ... is now clearly able to
           understand the nature and consequences
           of the proceedings against him.     The
           issue of whether he can assist properly
           in his defense, though, is problematic,
           because he does have evidence of a
           memory problem, based upon his medical
           history,    prior    neuropsychological
           testing, and current presentation....
           [However,] [w]ith [certain] important
           medical records unavailable, I could
           only speculate as to prognosis.      In
           essence, then, the question of current
           competency to assist in his defense
           cannot be answered based upon the
           copious, yet incomplete information
           reviewed.”



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Psychiatric        Evaluation        submitted    by     Dr.     Steven

Rosenblatt, M.D., dated December 10, 2012 (Doc. No. 157,

Exh. 1).    However, Dr. Rosenblatt’s December 26 report on

Hulse,     after     review     of       newly   obtained      records,

conclusively determined that Hulse was competent to stand

trial.     It stated in relevant part:

           “Concerning Mister Hulse’s competency to
           stand trial, the critical question is
           only whether his short-term memory loss
           will prevent him from assisting his
           attorney in court proceedings, since
           there is not an issue of understanding
           the nature and consequences of the
           proceedings   against   him.      In  my
           professional     opinion,     ...    his
           recollection of facts for [the period of
           time in which Hulse’s alleged crime was
           committed]    is    unlikely    to    be
           impaired....    I do not see that his
           short-term memory deficit would stand in
           the way of his competency to assist in
           his defense. My conclusion, therefore,
           is that Mister Hulse retains mental
           competency to stand trial.”

Addendum    to   Psychiatric     Evaluation       submitted     by      Dr.

Steven Rosenblatt, M.D., dated December 26, 2013 (Doc.

No. 157, Exh. 1).




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    Furthermore,        defense        counsel     represented          at

yesterday’s    on-the-record       conference      that    he   has     no

reason to question Dr. Rosenblatt’s conclusion.

    Based upon the psychiatric evaluation and pursuant to

18 U.S.C. § 4241(a), the court concludes that Hulse is

not currently suffering from a mental disease or defect

such that he is unable to understand the nature and

consequences of the proceedings against him or to assist

properly in his defense.



                                 ***

    Accordingly, it is ORDERED that defendant Paul Hulse,

Sr. is declared mentally competent to stand trial in this

cause.

    DONE, this the 8th day of February, 2013.


                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
